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AO 440 (Rev. 06/12) Snmmons in a Civil Action

UNITED STATES DISTRICT COURT

for the

Southem District of lllinois

Terry L. Laney Jr.

 

Plaintij'(s)

V- Civil Action No. 18-CV-1768

Prairie Farms Diary, lncorporated and Rick Diek

 

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Defendant(s)
SUMMONS IN A CIVIL ACTION

TO: (Dejizndam 's name and address) RiCk Diek
1800 Adams Street
Granife City, lllinOlS 62040

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attomey,
whose name and address are: Donnell Smith

Donnell Smith and Associates, LLC
6101 De|mar Boulevard, Suite A
Saint Louis, Missouri 63112

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court

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